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                  SCOBIE EXHIBIT A
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                  SCOBIE EXHIBIT B


              TO BE FILED FOLLOWING
                 ENTRY OF ORDER ON
              APPLICATION FOR LEAVE
                  TO FILE UNDER SEAL
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                  SCOBIE EXHIBIT C


              TO BE FILED FOLLOWING
                 ENTRY OF ORDER ON
              APPLICATION FOR LEAVE
                  TO FILE UNDER SEAL
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                  SCOBIE EXHIBIT D
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                                 #:5380


                                                                                1


  1                    UNITED STATES DISTRICT COURT

  2                   CENTRAL DISTRICT OF CALIFORNIA

  3

  4                                                   Case No.:

  5        PINKETTE CLOTHING, INC.,                   2:15-cv-04950-SJO-AJW

  6                             Plaintiff,

  7                        v.

  8      COSMETIC WARRIORS LIMITED,

  9                             Defendant.

 10

 11          DEPOSITION OF DR. JONATHAN D. HIBBARD, a witness

 12    called by and on behalf of the Defendant, taken

 13    pursuant to Rules 26(b)(4) and 30(b)(1) of the

 14    Federal Rules of Civil Procedure, before Maria P.

 15    Manning, CSR and Notary Public in and for the

 16    Commonwealth of Massachusetts, at O'BRIEN & LEVINE

 17    COURT REPORTING SERVICES, 195 State Street, 5th

 18    Floor, Boston, Massachusetts, 02109 on

 19    October 21, 2016, commencing at 10:03 a.m.

 20

 21

 22

 23

 24

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                           Dr. Jonathan D. Hibbard - October 21, 2016           32


  1    your engagement in this matter?

  2         A.   Yes.

  3         Q.   And do you recall who you communicated with

  4    the very first time?

  5         A.   I believe it Enoch.

  6         Q.   And do you remember the subject matter of

  7    that communication?

  8                      MR. CRANE:        I'm going to object to

  9              the extent that calls for disclosure of

 10              attorney work product and counsel

 11              witness not to advise any privileged or

 12              work product communications.

 13                      THE WITNESS:         So go ahead and

 14              answer?

 15                      MR. CRANE:        If you feel you can

 16              answer the question without disclosing

 17              any strategy or opinions discussed

 18              regarding the case, then you may.

 19                      THE WITNESS:         Okay.       He asked me

 20              my availability.

 21                      MS. KLIENBENSTEIN:             So, David,

 22              it's your position that the subject

 23              matter of your communications with your

 24              experts are attorney-client privilege?

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                           Dr. Jonathan D. Hibbard - October 21, 2016           33


  1                      MR. CRANE:        The Federal rules

  2              limit what is discoverable when it

  3              comes to communications under the

  4              attorney work product doctrine.

  5    BY MS. KLIENBENSTEIN:

  6         Q.   Do you remember how many different meetings

  7    you had with counsel?

  8         A.   By meetings, does that include phone calls?

  9         Q.   Yes.

 10         A.   I think a couple.

 11         Q.   Less than five?         More than five?

 12         A.   Yeah.    Less than five.

 13         Q.   Do you recall -- the very first thing listed

 14    here is CWL Mediation Brief.

 15              Do you recall reading that document?

 16         A.   I recall I read it.

 17         Q.   Did you rely on that document in preparing

 18    these opinions?

 19         A.   No.

 20         Q.   And why not?

 21         A.   I read those for -- the mediation briefs, I

 22    read them just for background so that hopefully I

 23    would understand the issues in the case.

 24         Q.   And with the deposition transcripts, did you

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                            Dr. Jonathan D. Hibbard - October 21, 2016           34


   1   look at the exhibits as well, or just the

   2   transcripts?

   3        A.   I don't recall.          I think I reviewed whatever

   4   was provided to me.          So if that included exhibits, I

   5   reviewed that.       If it didn't, I didn't.

   6        Q.   Do you recall -- flip that over to the very

   7   first page, your report to the very first page.

   8        A.   My report to the first page?

   9        Q.   Yeah.    Do you see that sticker at the upper

  10   left-hand corner?

  11        A.   Um-hmm.

  12        Q.   Do you remember seeing anything that had

  13   stickers like that on the front page?

  14        A.   I honestly can't recall.

  15        Q.   Okay.    That's fine.

  16             While -- well, I'm back here.

  17        A.   Okay.    I can go back.

  18        Q.   Let's go back to Exhibit C.

  19             Did you pull these excerpts from the Wayback

  20   Machine yourself?

  21        A.   I did.

  22        Q.   And these are excerpts, not the entire

  23   Wayback hits for the websites as they appeared at the

  24   time reflected in your report, correct?

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                   SCOBIE EXHIBIT E
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        · · · · · · · UNITED STATES DISTRICT COURT

        · · · · · · ·CENTRAL DISTRICT OF CALIFORNIA



        PINKETTE CLOTHING, INC.,· ·)
        · · · · · · · · · · · · · ·)
        · · · · · Plaintiff,· · · ·)
        · · · · · · · · · · · · · ·)
        · · ·vs.· · · · · · · · · ·)· CASE NO. 2:15-cv-04950
        · · · · · · · · · · · · · ·)· · · · · ·-SJO-AJW
        COSMETIC WARRIORS LIMITED, )
        · · · · · · · · · · · · · ·)
        · · · · · Defendant.· · · ·)
        ___________________________)




        · · · · · · · · · · · DEPOSITION OF

        · · · · · · · · · · DR. BRUCE ISAACSON

        · · · · · · · · ·LOS ANGELES, CALIFORNIA

        · · · · · · · · · · OCTOBER 24, 2016




        Reported by:
        DEBBIE STRICKLAND
        CSR 9036
        No. 16-45953
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  ·1· ·BY MR. GOLLA:
  ·2· · · ·Q· · Okay.
  ·3· · · ·A· · I did review it.
  ·4· · · ·Q· · If you didn't cite one of the materials that you
  ·5· ·reviewed, do you believe that that doesn't form part of
  ·6· ·the basis for your report?
  ·7· · · ·A· · So you're saying if there's an item in
  ·8· ·paragraph 27 that's not cited in my report, does that
  ·9· ·mean that that item --
  10· · · ·Q· · That you didn't consider it as part of your
  11· ·report?
  12· · · · · · MR. BRINGUEL:· Objection.· Vague and ambiguous.
  13· · · · · · THE WITNESS:· I don't know.· I don't know how to
  14· ·answer.· Can I -- can I try a general answer to your
  15· ·question?
  16· ·BY MR. GOLLA:
  17· · · ·Q· · Sure.
  18· · · ·A· · The list that I have in paragraph 27 is a list
  19· ·of materials that I reviewed, some of which I cited, some
  20· ·of which helped me to form a general understanding of
  21· ·what the nature of the dispute is, and some of which I
  22· ·probably reviewed and didn't rely on or didn't pay any
  23· ·more attention to.
  24· · · · · · But everything that's in that list was not
  25· ·necessarily something that I relied upon or necessarily


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  ·1· ·something that formed part of the basis of my opinions in
  ·2· ·this matter.· And I know that there are items in that
  ·3· ·report that I did not rely upon or that did not serve as
  ·4· ·the basis for my opinions in this matter.
  ·5· · · ·Q· · Which matters and which items in paragraph 27
  ·6· ·and 28 did you not rely upon?
  ·7· · · ·A· · Well, just to take one example, if I take the
  ·8· ·mediation brief, I only cited that in my report insofar
  ·9· ·as it cites a TTAB decision.· So I don't believe that I
  10· ·relied upon the mediation brief to form part of my
  11· ·opinions in this matter.
  12· · · ·Q· · With respect to the mediation brief, did you
  13· ·just have Pinkette's mediation brief or did you have both
  14· ·sides?
  15· · · ·A· · I had mediation briefs from both parties.· And,
  16· ·I'm sorry, I was referring to -- I was referring in 27 to
  17· ·Pinkette's mediation brief.· But again, the comment that
  18· ·I had applies to both Pinkette's and CWL's mediation
  19· ·brief.· The only reason that I used either of those two
  20· ·items was as a citation for a TTAB decision or opinion or
  21· ·comment about the Lush mark.
  22· · · ·Q· · Did you have a copy of the TTAB opinion or just
  23· ·the mediation briefs?
  24· · · ·A· · At the time of writing this report?
  25· · · ·Q· · At the time of writing this report.


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  ·1· · · ·A· · I had only the mediation briefs and not the TTAB
  ·2· ·opinion.
  ·3· · · ·Q· · Did you use the mediation briefs generally to
  ·4· ·get background on for your report or how did you use
  ·5· ·those?
  ·6· · · · · · MR. BRINGUEL:· Objection.· Asked and answered.
  ·7· · · · · · THE WITNESS:· Really, the only use that I -- the
  ·8· ·only use that I had for the mediation brief was looking
  ·9· ·for whether or not CWL has claimed that their Lush mark
  10· ·is a strong mark or is well known.· And so that use would
  11· ·have been primarily -- that use would have only been CWL.
  12· ·And, again, the only thing that I used it for was the
  13· ·citation in support of the -- or referencing the TTAB
  14· ·opinion which I didn't have in hand at that point.
  15· ·BY MR. GOLLA:
  16· · · ·Q· · Any other materials in here that you didn't rely
  17· ·upon, and here, paragraphs 27 and 28?
  18· · · ·A· · I would have to go through each one one at a
  19· ·time to see if they are cited in the report.
  20· · · ·Q· · Okay.· Not as citations of the report, but you
  21· ·had specifically mentioned the mediation brief as not
  22· ·forming a basis of your opinion.· Anything else?
  23· · · ·A· · I'm sure there are other materials here in 27
  24· ·that did not form the basis of my opinion, but I can't
  25· ·think of anything as I sit here today.· And again, I


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                   SCOBIE EXHIBIT F
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           Expert Rebuttal Report of Dr. Bruce Isaacson


                                         October 5, 2016
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   49.       In addition to the differences across the categories of Lush Cosmetics and Lush Clothing,

   there are also differences unique to Lush Cosmetics and Lush Clothing, such as places where the

   products are sold. My understanding is that Lush Cosmetics are sold only at Lush Cosmetics

   stores, or through the Lush Cosmetics catalog or website. Lush Clothing is not sold in any of

   those locations.

   50.       Given these differences, and given the lack of evidence that Lush Cosmetics and Lush

   Clothing are typically found side by side, Dr. Kaplan’s decision to use the Squirt format means

   that his survey has placed together products and brands that do not have proximity in the

   marketplace.

   51.       The problems associated with Dr. Kaplan’s improper use of the Squirt format could have

   been avoided had he selected the Eveready format for his survey. Eveready is appropriate

   because CWL has taken the position in this matter that Lush Cosmetics is well-known.

   52.       For example, in their Answer and Counterclaim and Demand for Jury Trial, CWL claims

   that, “The LUSH trademark is well known as a mark indicating CWL as the source of goods and

   services.” The document also maintains that, “CWL and its LUSH mark are well known and

   consumers have come to know, rely upon, and recognize the LUSH mark as identifying CWL’s
   products and retail stores. Indeed, LUSH is the corporate persona and identity of CWL in the

   minds of consumers.”18
   53.       I also understand that The Trademark Trial and Appeal Board has found the LUSH mark

   to be “very strong, and widely known.”19

   54.       CWL’s Opposer’s Trial Brief from a separate matter contains numerous statements

   claiming that Lush Cosmetics is well-known and/or a strong brand, including:




   18
        Answer and Counterclaim and Demand for Jury Trial, pages 8 and 13.
   19
        CWL’s Mediation Brief, dated June 15, 2016, page 5.

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   I declare under penalty of perjury under the laws of California that the foregoing is true and

   correct to the best of my belief.



   Executed in Encino, California, on October 5, 2016.




                                                 ______________________________
                                                 Dr. Bruce Isaacson




                                                  - 35 -         Expert Rebuttal Report of Dr. Bruce Isaacson
